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 1   JASON M. FRANK (190957)
     ANDREW D. STOLPER (205462)
 2   SCOTT H. SIMS (234148)
     FRANK SIMS & STOLPER LLP
 3   19800 MacArthur Blvd., Suite 855
     Irvine, CA 92612
 4   Telephone: (949) 201-2400
     Facsimile: (949) 201-2405
 5
     FRANKLIN D. AZAR (pro hac vice
 6   to be filed)
     FRANKLIN D. AZAR &
 7   ASSOCIATES, P.C.
     14426 East Evans Avenue
 8   Aurora, CO 80014
     Telephone: (303) 757-3300
 9   Facsimile: (720) 213-5131
10   Attorneys for Plaintiffs, the Proposed Class and Subclasses
11

12                         UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14

15 WILLIAM MARTIN and LORI                  Case No.:
   MITCHELL, each individually and on
16 behalf of all others similarly situated,
                                            CLASS ACTION
17                      Plaintiffs,
                                            COMPLAINT FOR:
18 vs.
                                              (1) BREACH OF CONTRACT;
19 TOYOTA MOTOR CREDIT
   CORPORATION, a California                  (2) MONEY HAD AND RECEIVED;
20 Corporation and TOYOTA MOTOR
   INSURANCE SERVICES, INC., a                (3) VIOLATIONS OF THE
21 California Corporation                         CALIFORNIA UNFAIR
                                                  BUSINESS PRACTICES ACT;
22                      Defendants.
                                              (4) VIOLATIONS OF THE
23                                                CALIFORNIA CONSUMER
                                                  LEGAL REMEDIES ACT; and
24
                                                (5) DECLARATORY RELIEF
25
                                             JURY TRIAL DEMANDED
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                                     CLASS ACTION COMPLAINT
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 1         Plaintiffs William Martin (“Martin”) and Lori Mitchell (“Mitchell”) (collectively,
 2   “Plaintiffs”), on behalf of themselves and all others similarly situated (the “Class”), bring
 3   this action against Defendants Toyota Motor Credit Corporation (“TMCC”) and Toyota
 4   Motor Insurance Services, Inc. (“TMIS”) (collectively “Toyota” or “Defendants”) to
 5   recover monetary damages, injunctive relief, and other remedies for breach of contract,
 6   money had and received, violations of California’s Unfair Business Practices Act (the
 7   “UCL”), violations of California’s Consumer Legal Remedies Act (the “CLRA”) and
 8   declaratory relief.   The following allegations are based upon Plaintiffs’ personal
 9   knowledge with respect to their own acts and based upon information and belief as to all
10   other matters.
11                                      INTRODUCTION
12          1.    This action concerns Toyota’s practice of knowingly collecting unearned
13   fees for Guaranteed Automobile Protection Waivers (“GAP Waivers”) after the early
14   payoff of a customer’s retail installment sales contract (also referred to herein as the
15   “finance agreement”). Toyota knows these fees have not and will never be earned but
16   collects them anyway. Toyota then refuses to refund this unearned money to its
17   customers, even though Toyota is contractually and legally obligated to do so as the
18   creditor and assignee of the finance agreement and GAP Waiver. As a result of this
19   unlawful and fraudulent practice, Toyota knowingly collects and keeps tens of millions
20   of dollars in unearned fees from its customers each year.
21                                 FACTUAL BACKGROUND
22          2.    What is a Retail Installment Sales Contract? Plaintiffs and the Class
23   financed the purchase of their cars by entering into retail installment sales contracts with
24   Toyota authorized dealers (the “dealers”). Under the agreements, Plaintiffs and the Class
25   agreed to pay for the price of their cars in the future over a fixed period of years, with
26   interest, in monthly installment payments. The dealers then immediately sold and
27   assigned those contracts to Toyota. Thereafter, all future payments on the contracts were
28   made directly to Toyota.
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                                       CLASS ACTION COMPLAINT
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 1           3.   What is the difference between a Retail Installment Sales Contract and
 2   a Loan? Although similar, a retail installment sales contract is different than an auto
 3   loan.   As the U.S Consumer Financial Protection Bureau explains: “A loan is a
 4   transaction between you and a bank or other lender for money, where you use the money
 5   to purchase a vehicle and agree to repay the loan balance plus interest. A retail
 6   installment sale, on the other hand, is a transaction between you and the dealer to
 7   purchase a vehicle where you agree to pay the dealer over time, paying both the value of
 8   the vehicle plus interest. A dealer could sell the retail installment sales contract to a
 9   lender or other party.” (See www.consumerfinance.gov/ask-cfpb/what-is-a-retail-
10   installment-sales-contract-or-agreement-is-this-a-loan-en-817/.) That is exactly what
11   happened in the present case. Plaintiffs and the Class entered into retail installment sales
12   contracts with the dealers, which were then immediately sold and assigned to Toyota.
13   Thereafter, Toyota became the creditor on the agreements.
14           4.   What is a GAP Waiver? Each of the retail installment sales contracts at
15   issue in this lawsuit included a GAP Waiver. A GAP Waiver is an addendum to the retail
16   installment sales contract which amends the terms of the contract and becomes a part of
17                                           the agreement. It is a debt cancellation agreement,
18                                           which provides that in the event a customer
19                                           suffers a “total loss” of their vehicle and the actual
20                                           cash value of their vehicle is worth less than the
21                                           balance owed to the creditor, then the creditor will
22                                           agree to waive the difference. This difference is
23   known as the “GAP.”
24           5.   For example, assume a customer’s car is stolen and the customer still owes
25   $10,000 in payments on their retail installment sales contract.          Also, assume the
26   customer’s liability insurer only agrees to pay $8,000 for the “total loss” of the vehicle.
27   Without a GAP Waiver, the customer would still owe the $2,000 difference to Toyota as
28   the creditor on the contract, even though the customer no longer possesses the vehicle.
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 1   However, if the retail installment sales contract has a GAP Waiver, then Toyota is
 2   required to “waive” the $2,000 difference. 1
 3          6.    How does a customer pay for GAP Coverage? Customers pay for GAP
 4   coverage in monthly installments over the life of their finance agreement. The total cost
 5   of GAP coverage for the full term of the contract is separately listed on the retail
 6   installment sales contract as part of the total amount financed (the “GAP fees”). The
 7   contract will also list the total amount of interest that the customer will pay over the full
 8   term of the contract (the “finance charge”). However, while the customer is told up-front
 9   what the total cost of the GAP coverage and finance charge will be for the full term of
10   the contract, the customer actually pays these amounts incrementally over time to Toyota
11   on a month-to-month basis, which is included in the monthly payments for their car.
12          7.    What are Unearned GAP Fees? When customers pay off their finance
13   agreements early (before the original maturity date) this results in what Toyota and the
14   rest of the auto finance industry refer to as “unearned GAP fees” and “unearned finance
15   charges.” For example, if the total cost of GAP protection for four years of GAP coverage
16   is $800, but the customer pays off their finance agreement in two years, this results in
17   $400 of “unearned GAP fees” for the unused half of the contract term. This portion of
18   the GAP fees is “unearned” because once the finance agreement is paid-off early, there
19   is no possibility of a GAP and the customer is no longer receiving anything of value by
20   paying for future GAP protection. Similarly, when the finance agreement is paid off
21   early, the difference between the interest that had accrued up to the date of the early
22   payoff and the total finance charge listed on the contract is known as the “unearned
23   finance charge,” because the customer no longer owes interest for the unused term of the
24   agreement.
25

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27   1
        By structuring the transaction as a “debt cancellation agreement,” rather than
   “insurance,” Toyota is able to avoid insurance regulations designed to protect consumers,
28 such as regulations regarding the amount charged for insurance protection and a dealer’s
   ability to offer GAP coverage to customers without an insurance license.
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 1         8.     How is Toyota Collecting and Keeping Unearned GAP Fees? When a
 2   customer wants to pay off their finance agreement early (i.e., before the end of the
 3   contract term), Toyota informs the customer of the total payoff amount. Toyota will
 4   typically not include the unearned finance charge in the total payoff amount quoted to
 5   customers, but it will include the amount of the unearned GAP fees. In other words, at
 6   the time of the early payoff, Toyota fraudulently represents to its customers (including
 7   Plaintiffs and the Class) that they owe Toyota the unearned GAP fees for the remaining
 8   term of the contract, even though Toyota knows these fees are not earned, and can never
 9   be earned, because the finance agreement is terminating early. Toyota then collects and
10   keeps these unearned GAP fees, unless the customer affirmatively requests a refund,
11   which rarely happens. As a result of this practice, Toyota routinely collects and keeps
12   tens of millions of dollars of unearned money each year that rightfully belongs to its
13   customers.
14         9.     Toyota Always Knows Its Customers are Entitled to a Credit or Refund
15   of Unearned GAP Fees When There is an Early Payoff of the Finance Agreement.
16   Toyota always knows when there has been an early payoff of the finance agreement
17   because Toyota, as the creditor, is the entity receiving the early payoff. Likewise, Toyota
18   always knows it customers are entitled to a credit or refund of the unearned GAP fees
19   after an early payoff, because Toyota knows that once the retail installment sales contract
20   is terminated early, there is no basis for continuing to charge customers for future GAP
21   coverage. Consequently, there is no legitimate basis for Toyota to include the unearned
22   GAP fees in the early payoff amount quoted to customers, nor is there is any legitimate
23   basis to collect such unearned money from its customers and then refuse to give it back
24   unless the customers affirmatively requests a refund.
25         10.    The Early Payoff of the Finance Agreement Automatically Cancels the
26   GAP Waiver. As explained above, the GAP Waiver is simply an addendum to the retail
27   installment sales contract and is a part of the agreement. Consequently, the early payoff
28   of the contract results in an automatic termination and cancellation of the GAP Waiver

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 1   addendum. Toyota’s own internal agreements with its dealers explain that coverage
 2   under the GAP Waiver addendum will “terminate” as soon as the finance agreement
 3   “expires, is paid off, or is otherwise terminated.”
 4         11.     Toyota’s “Condition Precedent” Defense is not Well Taken. Toyota
 5   claims that the “fine print” language on the back of its GAP Waiver addendums provide
 6   that customers must send a written notice of cancellation to Toyota as a “condition
 7   precedent” to a credit or refund of the unearned GAP fees. Based on well-established
 8   contract interpretation principles applicable in all 50 states, Toyota’s “condition precent”
 9   defense is not well taken for several reasons:
10
                      a. Any Ambiguities in the GAP Waiver Addendum Must Be
11
     Construed Against Toyota. Toyota’s GAP Waiver addendums are form contracts
12
     prepared by Toyota and offered to customers on a take-it-or-leave-it basis. In other
13
     words, they are “contracts of adhesion.” As such, any ambiguities in the GAP Waiver
14
     addendums must be strictly construed against Toyota as the drafter.
15
                      b. Conditions Precedent are Disfavored Under the Law in all 50
16
     States. A condition precedent is an act or event that must occur before a duty to perform
17
     arises.     (13 Williston on Contracts, § 38:7; MDY Industries, LLC v. Blizzard
18
     Entertainment, Inc., 629 F.3d 928, 939 (9th Cir. 2010).) Conditions precedent are
19
     disfavored under the law because they tend to work as forfeitures -- in this case, a
20
     forfeiture of the “unearned GAP fees.” (Id.) Thus, whenever possible, courts construe a
21
     provision in a contract as a promise or covenant, rather than a condition precedent, unless
22
     it is established by clear and unmistakable language that the failure to perform will result
23
     in a forfeiture. (Id.; see also Hammes Co. Healthcare, LLC v. Tri-City Healthcare Dist.,
24
     2011 WL 6182423, at *5 (S.D. Cal. Dec. 13, 2011) (“It is well-established that conditions
25
     precedent are disfavored, and that ‘a contract is not to be construed to provide a forfeiture
26
     unless no other interpretation is reasonably possible’”).) The difference is important,
27
     because the failure to perform a covenant or promise does not generally excuse the other
28
     party’s performance, and instead only allows the non-breaching party to assert a claim
                                                  5
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 1   for damages (if any) caused by the breach. (Id.) As Williston on Contracts explains,
 2   “[t]his interpretation protects both parties to the transaction, is based on a policy of
 3   avoiding the harsh effect of forfeiture which may result from a failure of a condition
 4   precedent, and does not result in a minor failure to perform exactly as called for, wholly
 5   destroying all rights under the contract.” (13 Williston on Contracts, § 38:7.)
 6                   c. Toyota’s      Gap    Waiver      Forms     Do    Not    Clearly    and
 7   Unambiguously Provide that Customers will Forfeit their Unearned GAP Fees
 8   Unless They Request a Refund. Toyota is relying on a provision in their GAP Waiver
 9   addendum which provides as follows:
10                You have the right to cancel this Agreement at any time and to
                  request a refund if no benefit has been provided under this
11                Agreement. To cancel this Agreement, You must submit a
                  written request to the Program Administrator 2 [Toyota] at the
12                address shown above. (Exhibit A.)
13   The second sentence in this provision -- stating that the customer “must submit a written
14   request” to cancel this Agreement -- is referring to situations when a customer wants to
15   voluntarily cancel his or her GAP coverage during the contract term. In those situations,
16   Toyota obviously would need to know that the customer wants to voluntarily cancel the
17   coverage, which is why written notice is required. In contrast, as explained in Paragraph
18   10 above, the early payoff of the finance agreement automatically cancels the GAP
19   Waiver that is a part of the agreement. Consequently, the second sentence in this
20   provision – requiring a “written request” to cancel the agreement – is not applicable to
21   situations where the contract is automatically terminated due to an early payoff. In fact,
22   later versions of Toyota’s GAP Waiver addendum make it clear that there is a distinction
23   between a voluntary cancellation of GAP coverage and an automatic termination of
24   coverage due to an early payoff of the finance agreement. (Exhibits B & C.) For
25

26
     The Program Administrator is Toyota Motor Insurance Services (“TMIS”), which
     2
27 operates under the same trade name as Toyota Motor Credit Corporation (“TMCC”), i.e.,
   “Toyota Financial Services.” Any distinction between the two entities relating to GAP
28 is a fiction, and TMIS has the ability to access the same early payoff information as
   TMCC.
                                                 6
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 1   example, recognizing that its notice provisions did not clearly and unambiguously apply
 2   to early payoffs, Toyota revised the provision as follows:
 3                To cancel this Agreement and receive any refund due to the
                  cancellation of this agreement, You must submit a written
 4                request to the Program Administrator at the address shown
                  above. If cancellation is due to the early termination of Your
 5                finance or lease contract, cancellation must be made in
                  writing to the Program Administrator. (Exhibit C (emphasis
 6                added).)
 7   This change demonstrates that Toyota’s prior GAP Waiver forms did not clearly and
 8   unambiguously apply to early payoffs, and this provision cannot be construed as a
 9   condition precedent, especially with respect to the earlier versions of the GAP Waiver
10   forms.
11                   d. Plaintiffs and the Class Actually and/or Substantially Complied
12   with any Purported Notice Prerequisites. Regardless of which version of Toyota’s
13   GAP Waiver form was provided to its customers, the notice provisions relied on by
14   Toyota, at most, require written notice of cancellation of the finance agreement and its
15   GAP Waiver addendum. Toyota’s customers (including Plaintiffs and the Class) always
16   provide written notice of cancellation to Toyota when they pay off their finance
17   agreements early. These early payoffs are made by the customers in writing to Toyota
18   (by written instrument, check or electronic payment), recorded in writing in Toyota’s
19   database and confirmed in writing by an “early payoff” letter sent by Toyota to its
20   customers. Thus, Toyota always receives written notice of the cancellation of the
21   agreement after an early payoff, thereby triggering its obligation to issue a credit or
22   refund of the unearned GAP fees. While customers may not have sent the notice to the
23   correct “address” listed on the GAP Waiver form for the “Program Administrator” –
24   which is a Toyota entity – the law does not consider such minor and immaterial
25   deviations from a contract provision to be grounds for a forfeiture. In all circumstances,
26   Toyota received actual notice of the cancellation of the finance agreement and its GAP
27   Waiver addendum, so the purpose of any purported notice prerequisite was fulfilled.
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 1                   e. Numerous States Have Laws or Regulations Concerning GAP
 2   Waivers that Require the Creditor to Automatically Issue a Credit or Refund of
 3   the Unearned GAP Fees After an Early Payoff, Without Any Further Notice or
 4   Request for a Refund from Customers. There are currently at least 15 States in the
 5   United States, including Plaintiff Lori Mitchell’s home State of Colorado, which prohibit
 6   creditors like Toyota from refusing to automatically refund unearned GAP fees after an
 7   early payoff. These States include Alabama, Colorado, Indiana, Iowa, Massachusetts,
 8   New Jersey, Nevada, Oklahoma, Oregon, South Carolina, Texas, Vermont and
 9   Wisconsin. Consequently, to the extent Toyota contends that customers are required to
10   request a refund as a “condition precedent” to a credit or refund of unearned GAP fees
11   after an early payoff in those States, such provisions are unlawful and cannot be
12   enforced.
13                   f.   Interpreting the Notice Provisions as Requiring Strict
14   Compliance as a Condition Precedent to a Credit or Refund of Unearned GAP Fees
15   will result in a Disproportionate Forfeiture. Even if the notice provision was
16   interpreted as a “condition precedent” (and it should not be), strict compliance with a
17   condition precedent will be excused if “literal and exact performance” will result in a
18   “disproportionate forfeiture.” (Restatement of Law (Second) of Contracts, § 229.)
19   When determining whether there will be a “disproportionate forfeiture” a court must
20   weigh the extent of the forfeiture by the obligee (the customer) against “the importance
21   of the risk the from which [the obligor (Toyota)] sought to be protected and the degree
22   to which that protection will be lost if the non-occurrence of the condition is excused.”
23   (Id.) This presents a question of fact. Here, Toyota is refusing to refund the unearned
24   GAP fees, because customers (including Plaintiffs and the Class) purportedly failed to
25   send written notice of cancellation to the correct address listed in the GAP Wavier
26   addendums. Toyota contends these customers forfeited their right to a refund of such
27   fees, and customers are, in fact, no longer able to obtain a refund of this money as a
28   result of this purported deviation from the notice provision. These customers (including
                                                 8
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 1   Plaintiffs and the Class) did not receive anything of value in exchange for paying
 2   unearned GAP fees after the early payoff, because once the retail installment sales
 3   contract is paid off early there is no potential GAP to protect against. In contrast, Toyota
 4   did not suffer any harm from a customer’s purported failure to mail notice of cancellation
 5   to the correct address specified in the contract, because it is undisputed that Toyota
 6   received actual notice of the cancellation. Allowing this trivial deviation to result in a
 7   forfeiture of a customer’s money would be the very definition of “disproportionate.”
 8        12.     Toyota’s Early Payoff Letters are Misleading and Fraudulently
 9   Conceal Toyota’s Obligations to Refund the Unearned GAP Fees. After an early
10   payoff, Toyota sends its customers (including Plaintiffs and the Class) a uniform letter
11   from “Toyota Financial Services” confirming that the finance agreement has been “paid
12   in full.” (Exhibit D.) In the letter, Toyota informs customers that “[i]f you have paid
13   off your account before the original maturity date” (i.e., an “early payoff”) “you may be
14   entitled to a refund” for products such as GAP, and “you can cancel these products by
15   contacting your dealer or the product provider/administrator directly.” (Id.) This letter
16   is highly misleading because Toyota knows its customers are, in fact, entitled to a refund
17   of the unearned GAP fees after an early payoff and Toyota knows the exact amount of
18   the refund. Thus, informing customers that they “may be entitled to a refund” of an
19   unknown amount deceptively suggests that a refund is not certain and this language is
20   used as an effort to deter customers from pursuing the refund. Further, the early payoff
21   of the finance agreement automatically cancels the GAP Waiver, because it is a part of
22   the contract, so there is no need to “contact” anyone to “cancel” the product. In addition,
23   under the GAP Waiver, it is Toyota, not the dealer, that owes the refund to the customer,
24   so directing customers to contact the dealer is an effort at misdirection. Finally, the
25   “program provider/administrator” of the GAP Waiver is “Toyota Financial Services” –
26   the same company sending the pay-off letter – but this is not disclosed in the letter.3
27
     3The provider of the GAP Waiver form is listed as “Toyota Financial Services” and the
28   “Program Administrator” is TMIS. (Exhibit A, B, and C.) As noted above, both TMCC
     and TMIS operate under the service mark “Toyota Financial Services.”
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 1   This is all designed to misleadingly conceal Toyota’s refund obligations, and discourage
 2   customers from obtaining a refund of their unearned GAP fees.
 3         13.    Toyota Continues to Collect and Fail to Refund Unearned GAP Fees
 4   After an Early Payoff. Toyota is continuing its fraudulent and unlawful practice of
 5   including unearned GAP fees in the total payoff amount and refusing to automatically
 6   issue a credit or refund of those fees to its customers upon an early payoff. Plaintiffs
 7   intend to enter finance agreements with Toyota GAP Waivers in the future and are thus
 8   at risk of being harmed by this practice in the future, just like the rest of the public. Thus,
 9   Plaintiffs on behalf of themselves, the Class, and the general public are seeking:
10                a.     An order requiring Toyota to refund all unearned GAP fees it
11   collected after the early payoff of the finance agreement to every customer in the United
12   States;
13                b.     An order requiring Toyota to pay the interest that accrued on those
14   delinquent refunds;
15                c.     An order requiring Toyota, on a go forward basis, to either: (i) issue
16   a credit for the unearned GAP fees in the early payoff amount quoted to customers; or
17   (ii) directly refund those unearned fees back to the customer promptly upon the early
18   payoff of the finance agreement; and
19                d.     Damages, restitution and all other relief as may be just and proper.
20                                JURISDICTION AND VENUE
21         14.    This Court has subject matter jurisdiction pursuant to the Class Action
22   Fairness Act of 2005, 28 U.S.C. § 1332(d) (“CAFA”), because at least one Class Member
23   is of diverse citizenship from one of the defendants, there are 100 or more Class Members
24   nationwide, and the aggregate amount in controversy exceeds $5,000,000.00.
25         15.    Venue is proper in the Central District of California under 28 U.S.C. § 1391
26   because Defendants’ headquarters were located in the Central District in Torrance,
27   California up until approximately September 2017, Defendants would be subject to
28   personal jurisdiction in the Central District if that district was a separate State and
                                                   10
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 1   Defendants still maintain their most significant California operations in the Central
 2   District. Further, a substantial portion of the events or omissions giving rise to this Action
 3   occurred in the Central District, including but not limited to (a) the creation and
 4   implementation of Defendants’ policy to include unearned GAP fees in the early payoff
 5   amount quoted to customers and to collect and fail to refund those unearned fees to their
 6   customers; (b) the creation and dissemination of the GAP Waiver forms at issue in this
 7   Action; (c) the creation and dissemination of the final payoff letters at issue in this Action;
 8   (d) the acceptance of the assignment of the finance agreements from Plaintiff William
 9   Martin and other Class Members who purchased their cars prior to at least September
10   2017; and (e) the collection of unearned GAP fees from Class Members prior to at least
11   September 2017.
12                                       THE PLAINTIFFS
13         16.    Plaintiffs are individuals (a) who entered into finance agreements with GAP
14   Waiver addendums that were assigned to Toyota, (b) who paid off their finance
15   agreements to Toyota before the end of the original contract term, and (c) who did not
16   receive a refund of the unearned GAP fees collected by Toyota and/or the accrued interest
17   on those unpaid amounts.
18         17.    At all relevant times, Plaintiff William Martin (“Martin”) was a citizen of
19   the State of California, and a resident of Novato, California. On or about February 10,
20   2012, Martin purchased a 2012 Toyota Tundra from the Toyota Marin dealership, located
21   in San Rafael, California. As part of this purchase, Martin entered a retail installment
22   sales contract with a Toyota GAP Waiver addendum, a true and correct copy of which is
23   attached as Exhibit A. 4 The original contract term was for 84 months and the full cost
24   of GAP coverage for that term would have been $545.37. The finance agreement and
25   GAP Waiver addendum were immediately sold and assigned to Toyota. On or around
26
   4 Martin only had the front page of his GAP Waiver addendum.        Based on the form
27 number listed in the bottom right-hand corner of the addendum, Plaintiffs are informed
   and believe that the second page included in Exhibit A is a true and correct copy of the
28 terms on the back page of Martin’s GAP Waiver addendum with Toyota Financial
   Services.
                                                   11
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 1   May 17, 2018, approximately 75 months after the contract start date, Toyota informed
 2   Martin of the total payoff amount for his finance agreement if he wanted to pay off the
 3   agreement early. Toyota included unearned GAP fees of approximately $57.37 in the
 4   total payoff amount. Martin paid the total amount quoted by Toyota and provided Toyota
 5   with written notice that the finance agreement was terminated. Toyota collected and
 6   failed to refund the unearned GAP fees of approximately $57.37 to Martin and Toyota
 7   contends that Martin has forfeited the right to receive a refund of those fees or any
 8   applicable interest. After the early payoff of his finance agreement, Martin moved from
 9   California and is now currently a citizen and resident of the State of Nevada.
10         18.     At all relevant times, Plaintiff Lori Mitchell (“Mitchell”) has been and is
11   currently a citizen of the State of Colorado, and a resident of Lakewood, Colorado. On
12   or about May 8, 2018, Mitchell purchased a 2018 Toyota Highlander from the Mountain
13   States Toyota dealership, located in Denver, Colorado. In connection with this purchase,
14   Mitchell entered a retail installment sales contract with a Toyota GAP Waiver addendum,
15   a true and correct copy of which is attached as Exhibit B. The original contract term was
16   for 75 months and the full cost of GAP coverage for that term would have been $450.00.
17   The finance agreement and GAP Waiver addendum were immediately sold and assigned
18   to Toyota. On or around May 18, 2019, just over a year after the contract start date,
19   Toyota informed Martin of the total payoff amount for her finance agreement if she
20   wanted to pay off the agreement early.            Toyota included unearned GAP fees of
21   approximately $376.12 in the total payoff amount. Mitchell paid the total amount quoted
22   by Toyota and provided Toyota with written notice that the finance agreement was
23   terminated.    Toyota collected and failed to refund the unearned GAP fees of
24   approximately $376.12 to Mitchell and Toyota contends that Mitchell has forfeited the
25   right to receive a refund of those fees or any applicable interest.
26                                        DEFENDANTS
27        19.      Defendant Toyota Motor Credit Corp. (“TMCC”) is a California
28   Corporation. TMCC is the assignee of the finance agreements of Plaintiffs and the Class,
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 1   including the GAP Waiver addendums that are part of those finance agreements.
 2   TMCC’s headquarters was located in Torrance, California until approximately
 3   September 2017, at which time it moved its headquarters to Plano, Texas. TMCC,
 4   nevertheless, still maintains significant operations in Torrance, California.
 5        20.      Defendant Toyota Motor Insurance Services, Inc. (“TMIS”) is a California
 6   Corporation. TMIS is listed as the “Program Administrator” in the GAP Waiver forms
 7   signed by Plaintiffs and the Class. TMIS’s headquarters was located in Torrance,
 8   California until approximately September 2017, at which time it moved its headquarters
 9   to Plano, Texas. TMIS, nevertheless, still maintains significant operations in Torrance,
10   California.
11        21.      TMCC and TMIS both operate under the trade name and service mark
12   “Toyota Financial Services.”5 TMCC and TMIS share many of the same officers and
13   directors and operate out of the same offices.
14        22.      On information and belief, Plaintiffs allege that Defendants were, at all
15   relevant times, the alter egos of each other such that to affirm the legal separateness of
16   the Defendants for the purposes of the claims presented here would lead to an injustice
17   and/or inequitable result. There is a unity of interest and ownership between the
18   defendant companies and their equitable owner(s) such that the separate personalities of
19   the companies and their shareholders do not in reality exist.
20        23.      On information and belief, Plaintiffs allege that, at all relevant times, each
21   Defendant was acting as a partner, agent, servant and/or employee of the remaining
22   Defendants, within the course and scope of such agency and with the knowledge and/or
23   understanding of the remaining Defendants.
24        24.      If necessary, Plaintiffs will seek to amend this Complaint to reflect
25   Defendants’ true names and capacities when they have been ascertained if not correctly
26   named or yet named. Plaintiffs are informed and believe, and thus allege, that each
27
     5 TMCC and TMIS also both operate under the service marks “TFS,” “Lexus Financial
28   Services” and “LFS.”
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 1   defendant is responsible, jointly and severally, for the events and injuries described
 2   herein that caused damage to Plaintiffs and the Class.
 3                             CLASS ACTION ALLEGATIONS
 4        25.      Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil
 5   Procedure on behalf of the following Class and Subclasses:
 6                 a.    Nationwide Class: Plaintiffs seek to represent a nationwide class
 7   including all persons: (1) who entered into finance agreements with a Toyota GAP
 8   Waiver addendum that were assigned to Toyota, (2) who paid off their finance
 9   agreements before the end of the contract term, and (3) who did not receive a credit or
10   refund of the unearned GAP fees and/or the accrued interest on those amounts (the
11   “Nationwide Class” or “Class”). On behalf of the Nationwide Class, Plaintiffs are
12   asserting claims against Toyota for breach of contract, money had and received and
13   declaratory relief. The class period is based on the applicable statutes of limitations in
14   each State.
15                 b.    The California Subclass: Plaintiff Martin is seeking to represent a
16   subclass of consumers who fit the definition of the Nationwide Class, but which is limited
17   to consumers who entered finance agreements with a Toyota GAP Waiver addendum in
18   the State of California (the “California Subclass”). On behalf of the California Subclass,
19   Plaintiff Martin is asserting claims against Toyota for breach of contract, money had and
20   received, violation of California’s Business & Professions Code section 17200 (the
21   “UCL”), violation of California’s Consumer Legal Remedies Act (the “CLRA”), and
22   declaratory relief. The class period is based on the applicable statutes of limitations.
23                 c.    The Colorado Subclass: Plaintiff Mitchell is seeking to represent a
24   subclass of consumers who fit the definition of the Nationwide Class, but which is limited
25   to consumers who entered finance agreements with a Toyota GAP Waiver addendum in
26   the State of Colorado (the “Colorado Subclass”). On behalf of the Colorado Subclass,
27   Plaintiff Mitchell is asserting claims against Toyota for breach of contract, money had
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 1   and received and declaratory relief. The class period is based on the applicable statutes
 2   of limitations.
 3                d.     Statutory Refund Subclass. Plaintiff Mitchell is seeking to represent
 4   a subclass of consumers who fit the definition of the Nationwide Class, but which is
 5   limited to those customers who entered Toyota GAP Waiver addendums in States which
 6   have specific statutes or regulations requiring the assignee and holder of the finance
 7   agreement (Toyota) to directly refund the unearned GAP fees upon the early payoff of
 8   the finance agreement (the “Statutory Refund Subclass”).            This subclass includes
 9   consumers who entered Toyota GAP Waivers in the States of Alabama, Colorado,
10   Indiana, Iowa, Massachusetts, New Jersey, Nevada, Oklahoma, Oregon, Texas, Vermont
11   and Wisconsin. On behalf of the Statutory Refund Subclass, Plaintiffs are asserting
12   claims against Toyota for breach of contract, money had and received and declaratory
13   relief. The class period is based on the applicable statutes of limitations.
14        26.     Excluded from the proposed Class and Subclasses are: (a) Defendants and
15   their agents, officers, directors, parent companies, subsidiaries, and affiliates; (b) counsel
16   representing Plaintiffs and any person employed by counsel; and (c) any judicial officers
17   assigned to this case and their staff.
18        27.     Plaintiffs reserve the right to revise the definition of the Class and
19   Subclasses based upon subsequently discovered information.
20        28.     Numerosity: While the exact numbers of the members of the Class and
21   Subclasses are unknown to Plaintiffs at this time, membership in the Class and Subclasses
22   may be ascertained from the records maintained by Toyota. At this time, Plaintiffs are
23   informed and believe that the Class includes hundreds of thousands of members and the
24   Subclasses includes tens of thousands of members. Therefore, the Class and Subclasses
25   are sufficiently numerous that joinder of all members of the Class and Subclasses in a
26   single action is impracticable under Rule 23(a)(1) of the Federal Rules of Civil
27   Procedure, and the resolution of their claims through a class action will be of benefit to
28   the parties and the Court.
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 1        29.      Ascertainability: The names and addresses of the members of the Class and
 2   Subclasses are contained in Toyota’s records. Notice can be provided to the members of
 3   the Class and Subclasses through direct mailing, email, publication, or otherwise using
 4   techniques and a form of notice similar to those customarily used in consumer class
 5   actions arising under State and Federal law.
 6        30.      Common Facts: Common facts exist as to all members of the Class and
 7   Subclasses and predominate over any issues affecting individual members of the Class
 8   and Subclasses. The common facts include the following:
 9                 a.    Plaintiffs and the members of the Class and Subclasses entered into
10   finance agreements with Toyota GAP Waiver addendums.
11                 b.    The finance agreements and GAP Waiver addendums were standard
12   form contracts offered to customers on a take-it-or-leave-it basis.
13                 c.    The finance agreements and GAP Waiver addendums were purchased
14   by and assigned to Toyota.
15                 d.    Every finance agreement entered by Plaintiffs and the members of the
16   Class and Subclasses contained a provision stating that: “Any holder of this consumer
17   credit contract is subject to all claims and defenses which the debtor could assert against
18   the seller of goods or services obtained pursuant hereto or with the proceeds hereof.”
19                 e.    Toyota was the assignee and “holder” of every finance agreement and
20   GAP Waiver addendum entered by Plaintiffs and the members of the Class and
21   Subclasses.
22                 f.    The total purchase price for GAP coverage for the full term of the
23   finance agreement was listed as a separate line item on the first page of the finance
24   agreement and included in the “total amount financed.”
25                 g.    After the assignment to Toyota, Plaintiffs and the members of the
26   Class and Subclasses were required to make all payments under the finance agreements
27   to Toyota with interest, including, but not limited to, the monthly payment of GAP fees.
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 1                h.      Toyota is responsible for preparing and drafting the terms and
 2   language in every Toyota GAP Wavier form.
 3                i.      Every Toyota GAP Waiver form defines “We, Us or Our” as the
 4   “Creditor/Lessor.”
 5                j.      Every Toyota GAP Waiver form defines the “Creditor/Lessor” as
 6   “any person or entity who purchases or accepts assignment of the original finance or lease
 7   contract.”
 8                k.      Toyota, as the purchaser and assignee of the finance agreement, was
 9   the “Creditor/Lessor” of every GAP Waiver form entered by Plaintiffs and the members
10   of the Class and Subclasses;
11                l.      After the assignment, every reference in the GAP Waiver forms to
12   “We, Us or Our” refers to Toyota;
13                m.      Every Toyota GAP Waiver form provides that customers have the
14   right to cancel the GAP Waiver at any time and to request a refund.
15                n.      Every GAP Waiver addendum is automatically cancelled when the
16   finance agreement is paid off before the end of the contract term.
17                o.      Every Toyota GAP Waiver form provides that if the GAP Waiver is
18   cancelled thirty-one (31) days or more from the contract start date, “We [Toyota] will
19   refund the purchase price pro-rata based on the elapsed time from the Agreement
20   Effective Date to the cancellation date.”
21                p.      Toyota and the auto finance industry refer to the unused portion of the
22   total GAP purchase price as “unearned fees” or “unearned GAP fees.”
23                q.      Plaintiffs and the members of the Class and Subclasses paid off the
24   balances on their finance agreements early – i.e. before the end of the original contract
25   term.
26                r.      Toyota received written notice that Plaintiffs and the members of the
27   Class and Subclasses paid off their finance agreements before the end of the original
28   contract terms and thereby cancelled their GAP Waiver addendums early, because (1)

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 1   these customers paid off their balances through checks, wires or electronic payments, (2)
 2   Toyota recorded the pay-off date, in writing, in Toyota’s computer records and (3) Toyota
 3   issued written confirmation letters confirming the finance agreements were paid off
 4   before the end of the original contract terms.
 5                s.    Toyota possessed all of the information necessary to calculate the
 6   unearned GAP fees when Plaintiffs and the members of the Class and Subclasses paid off
 7   their finance agreements early, including (1) the method for calculating the refund (e.g.,
 8   the pro-rata method), (2) the total purchase price for GAP coverage for the full term of
 9   the contract, (3) the date of the early payoff and resulting cancellation of the agreement,
10   and (4) the amount of time remaining under the original contract term.
11                t.    Rather than deduct the unearned GAP fees from the total payoff
12   amount, Toyota’s common policy and practice throughout the United States is to include
13   the unearned GAP fees in the total payoff amount quoted to customers when customers
14   seek to pay off their finance agreements early.
15                u.    In conformance with its common policy and practice, Toyota included
16   the unearned GAP fees in the total payoff amount quoted to Plaintiffs and the members
17   of the Class and Subclasses.
18                v.    In conformance with its common policy and practice, Toyota
19   collected the unearned GAP fees from Plaintiffs and the members of the Class and
20   Subclasses and did not issue a credit or refund of the unearned GAP fees.
21                w.    Toyota’s common policies and practices with respect to GAP Waivers
22   are the same regardless of the language in the GAP Waiver forms. In other words, Toyota
23   treats all GAP Waiver forms as uniform in its business operations.
24                x.    Exhibits A, B and C reflect the three versions of GAP Waiver forms
25   used by Toyota during the Class Period. Any other differences in the forms are non-
26   material.
27

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 1                y.       In practice, Toyota regularly does not require customers to strictly
 2   comply with any applicable notice provisions in its GAP Waiver forms, thereby
 3   demonstrating that strict compliance is not required by the contracts.
 4                z.       After an early payoff, Toyota sends customers a standard payoff letter
 5   confirming that the finance agreement has been “paid in full” and informing customers
 6   that they “may be entitled to a refund” for their GAP Product and they should contact the
 7   dealer or GAP provider/administrator to cancel the product.            Toyota misleadingly
 8   conceals and fails to disclose in its payoff letter that: (i) Toyota knows for a fact that the
 9   customer is entitled to a refund of the unearned GAP fees; (ii) Toyota knows the exact
10   amount of the refund; (iii) Toyota knows that Toyota is the entity that is contractually
11   obligated to issue the credit or refund of the unearned GAP fees to the customer, not the
12   dealer; and (iv) Toyota is the provider/administrator of the GAP product.
13                aa.      Toyota contends that Plaintiffs and the members of the Class and
14   Subclass have forfeited their right to a refund of unearned GAP fees by failing to strictly
15   comply with the GAP Waiver’s purported notice requirements.
16        31.     Common Questions of Law: Common questions of law exist as to all
17   members of the Class and Subclasses and predominate over any issues solely affecting
18   individual members of the Class and Subclasses. The common questions of law include,
19   but are not limited to:
20                      a. Whether the early payoff of the finance agreement automatically
21   cancels the GAP Waiver addendum.
22                      b. Whether Toyota, as the assignee, owes a contractual obligation to the
23   customer to issue a credit or refund of unearned GAP fees when required under the GAP
24   Waiver addendums.
25                      c. Whether Toyota, as the “holder” of the finance agreement and GAP
26   Waiver addendum is responsible for issuing the credit or refund of the unearned GAP
27   fees to the customer pursuant to the “holder rule” mandated by 16 C.F.R. § 433.2.
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 1                   d. Whether Toyota was required to directly refund the unearned GAP
 2   fees after the early payoff of the finance agreement pursuant to the following State
 3   statutes and regulations: Alabama (Ala. Code 1975 § 8-37-6; Ala. Admin. Code r. 155-
 4   2-2-.13); Colorado (4 Colo. Code Regs. § 902-1-8), Indiana (Ind. Code § 24-4.5-3-202;
 5   Ind. D.F.I., GAP Program Approval, Standardized GAP Agreements, No. 14), Iowa (Ia.
 6   St. § 537.2510), Massachusetts (Ma. St. 140D § 22, Mass Gen. Laws Ch. 255B § 16),
 7   Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J. Stat. § 17:16BB-6(b)); Oregon
 8   (Or. Rev. Stat. § 50.646A), Texas (Tex. Admin. Cod § 83.812; Tex. Fin Code § 354.007),
 9   Vermont (8 V.S.A. § 10405(11)), and Wisconsin (WSA § 218.0148).
10                   e. Whether Toyota owes the interest that accrued on the unpaid refund
11   amounts.
12                   f. Whether Toyota’s actual notice that the finance agreements have been
13   paid off early is sufficient to trigger Toyota’s credit and refund obligations under the
14   GAP Waivers.
15                   g. Whether the payment of the final payoff amount constitutes written
16   notice to Toyota that the finance agreement has been paid off early thereby entitling
17   Plaintiffs and the members of the Class and Subclasses to a refund of their unearned GAP
18   fees.
19                   h. Whether Toyota’s records of the final payoff date and Toyota’s
20   payoff confirmation letters constitute sufficient written notice to Toyota under any
21   applicable notice provision that the finance agreements have been paid off early thereby
22   entitling Plaintiffs and the members of the Class and Subclasses to a refund of their
23   unearned GAP fees.
24                   i. Whether Plaintiffs and the members of the Class and Subclasses
25   “substantially complied” with any purported notice requirements in the GAP Waiver
26   addendums by providing notice to the party with the refund obligation (Toyota) that the
27   finance agreements have been paid off early.
28

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 1                   j. Whether it would be unjust to conclude that Plaintiffs and the
 2   members of the Class and Subclasses forfeited their right to a refund of the unearned
 3   GAP fees as a result of technical deviations from the GAP Waiver’s purported notice
 4   requirements, especially where, as here, the party with the refund obligation (Toyota)
 5   received actual notice.
 6                   k. Whether it would be unconscionable to conclude that Plaintiffs and
 7   the members of the Class and Subclasses forfeited their right to a refund of the unearned
 8   GAP fees as a result of technical deviations from the GAP Waiver’s purported notice
 9   provisions, especially where, as here, the party with the refund obligation (Toyota)
10   received actual notice.
11                   l. Whether the knowledge of TMCC is imputed to TMIS, and vice-
12   versa.
13                   m. Whether Toyota has received money which belongs to Plaintiffs and
14   the members of the Class and Subclasses and which in equity and good conscience should
15   be paid over to Plaintiffs and the members of the Class and Subclasses.
16                   n. Whether a contractual provision, if any, requiring Plaintiffs and the
17   members of the Class and Subclasses to send a subsequent written notice that the finance
18   agreement has been paid off early as a condition precedent to the refund is enforceable,
19   when the party with the refund obligation (Toyota) already knows the finance agreement
20   has been paid off early.
21                   o. Whether Toyota’s interpretation of its notice provisions as a condition
22   precedent requiring strict compliance would result in a disproportionate forfeiture of
23   unearned GAP fees after an early payoff.
24                   p. Whether Toyota’s practice of including unearned GAP fees in the
25   early payoff amount quoted to customers is an unfair, fraudulent or unlawful business
26   practice under the UCL.
27                   q. Whether Toyota’s practice of denying its refund obligations is an
28   unfair, fraudulent or unlawful business practice under the UCL.

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 1                   r. Whether Toyota’s payoff confirmation letter is deceptive and
 2   misleading in violation of the UCL.
 3                   s. Whether Toyota violated the CLRA because it represented to its
 4   customers that they owed unearned GAP fees in the total payoff amount, even though
 5   Toyota knew those fees were not earned and could never be earned as a result of the early
 6   payoff.
 7                   t. Whether Toyota’s interpretation of its notice provisions as a condition
 8   precedent requiring strict compliance and a forfeiture of unearned GAP fees would be
 9   unconscionable and violate the CLRA.
10                   u. Whether Plaintiffs and the members of the Class and Subclasses are
11   entitled to damages and restitution in the amount of the unearned GAP fees, as well as
12   the accrued interest on those unpaid amounts.
13                   v. Whether Plaintiffs and the members of the Class and Subclasses are
14   entitled to an award of reasonable attorneys’ fees and costs.
15                   w. Whether the Court should issue a public injunction requiring Toyota
16   to either: (1) refrain from including unearned GAP fees in the total payoff amount quoted
17   to customers; or (2) automatically refund those unearned fees back to the customer
18   promptly upon the early payoff of the finance agreement
19       32.      Typicality: Plaintiffs’ claims are typical of the claims of the members of
20   the Class and Subclasses. Plaintiffs have been subjected to the same wrongful business
21   practices and have been damaged in the same manner. Specifically, Toyota included
22   unearned GAP fees in the total payoff amount quoted to Plaintiffs and then proceeded to
23   collect those unearned GAP fees without issuing a credit or refund back to Plaintiffs, nor
24   pay interest on the delinquent amounts.
25       33.      Adequacy: Plaintiffs will fairly and adequately represent and protect the
26   interests of the Class and Subclasses as required by Federal Rule of Civil Procedure Rule
27   23(a)(4). Plaintiffs are adequate representatives of the Class and Subclasses because they
28   do not have any interests which are adverse to the interests of the members of the Class

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 1   or Subclasses. Plaintiffs are committed to the vigorous prosecution of this action and, to
 2   that end, Plaintiffs have retained counsel who are competent and experienced in handling
 3   class action litigation on behalf of consumers.
 4        34.     Plaintiffs’ interests are co-extensive with, and not antagonistic to, those of
 5   the absent members of the Class and Subclasses. Plaintiffs will undertake to represent
 6   and protect the interests of the absent members of the Class and Subclasses.
 7        35.     Plaintiffs have engaged the services of the undersigned counsel. Counsel is
 8   experienced in complex consumer class action litigation, will adequately prosecute this
 9   action, and will assert and protect the rights of, and otherwise represent, Plaintiffs and
10   the absent members of the Class and Subclasses.
11        36.     Superiority: A class action is superior to all other available methods for the
12   fair and efficient adjudication of the claims asserted in this action under Rule 23(b)(3) of
13   the Federal Rules of Civil Procedure because: (a) the expense and burden of individual
14   litigation make it economically unfeasible for members of the Class and Subclasses to
15   seek redress of their claims other than through the procedure of a class action; (b) if
16   separate actions were brought by individual members of the Class and Subclasses, the
17   resulting duplicity of lawsuits would risk inconsistent results; and (c) absent a class
18   action, Toyota will likely retain the benefits of its wrongdoing, resulting in a failure of
19   justice.
20        37.     Predominance: Class action status is warranted under Rule 23(b)(3) of the
21   Federal Rules of Civil Procedure because questions of law or fact common to the
22   members of the Class and Subclasses predominate over any questions affecting only
23   individual members. The interests of the members of the Class and Subclasses in
24   individually controlling the prosecution of separate actions are theoretical and not
25   practical. Prosecution of this action through multiple Class Representatives would be
26   superior to individual lawsuits. Plaintiffs are not aware of any difficulty which will be
27   encountered in the management of this litigation which should preclude its maintenance
28   as a class action.

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 1                                      FIRST CLAIM
                                 BREACH OF CONTRACT
 2                 (On Behalf of All Plaintiffs and the Class and Subclasses)
 3        38.     Plaintiffs hereby repeat, reallege and incorporate by reference each and
 4   every allegation contained above as though the same were fully set forth herein.
 5        39.     Plaintiffs bring this claim on behalf of themselves and the members of the
 6   Class and Subclasses.
 7        40.     Plaintiffs and the members of the Class and Subclasses entered into finance
 8   agreements with Toyota GAP Waiver addendums that were assigned to Toyota.
 9        41.     A true and correct copy of Plaintiff Martin’s finance agreement and GAP
10   Waiver addendum is attached as Exhibit A. 6
11        42.     A true and correct copy of Plaintiff Mitchell’s finance agreement and GAP
12   Waiver addendum is attached as Exhibit B.
13        43.     The Toyota GAP Waiver addendums provide that Toyota will issue a credit
14   or refund of unearned GAP fees if the GAP Waiver is cancelled before the end of the
15   original contract term, so long as Toyota has not been required to waive any GAP
16   amounts under the agreement.
17        44.     Plaintiffs and the members of the Class and Subclasses paid off the finance
18   agreements early (i.e., before the end of the original contract term), which resulted in the
19   automatic cancellation of the GAP Waiver addendum.
20        45.     At the time of the early payoff, Toyota included the unearned GAP fees in
21   the total payoff amount quoted to Plaintiffs and the members of the Class and Subclasses.
22        46.     Plaintiffs and the members of the Class and Subclasses paid the total payoff
23   amount to Toyota, including the unearned GAP fees.
24

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27  As noted above, Martin only had the front page of his GAP Waiver addendum. Based
     6

   on the form number listed in the bottom right-hand corner of the addendum, Plaintiffs are
28 informed and believe that the second page of the GAP Waiver included in Exhibit A is a
   true and correct copy of the terms and conditions on the back page of the GAP Waiver.
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 1        47.     Plaintiffs and the members of the Class and Subclasses provided written
 2   notice to Toyota that they were cancelling the GAP Waiver by paying off the finance
 3   agreement early (i.e., prior to the end of the original contract term).
 4        48.     Plaintiffs and the members of the Class and Subclasses actually and/or
 5   substantially complied with all of their contractual obligations under the GAP Waiver
 6   addendum, including but not limited to any purported written notice requirements.
 7        49.     In breach of the finance agreements and GAP Waiver addendums, Toyota
 8   wrongfully collected the unearned GAP fees upon the early payoff of the finance
 9   agreements and failed to refund those amounts to Plaintiffs and the members of the Class
10   and Subclasses as required under the GAP Waiver addendums.
11        50.     Plaintiffs and the members of the Class and Subclasses were harmed,
12   suffered out-of-pocket loss, and did not receive the benefit of their bargains because
13   Toyota failed to issue a credit or refund of the unearned GAP fees after the early payoff
14   of the finance agreements and failed to pay the interest that accrued on those unpaid
15   amounts.
16        51.     Toyota is liable to Plaintiffs and the members of the Class and Subclasses
17   for the damages they suffered as a direct result of Toyota’s collection and failure to
18   promptly issue a credit or refund of the unearned GAP fees, as well as the interest that
19   accrued on those unpaid amounts.
20        52.     Allowing Toyota to keep unearned money due to a purported failure to
21   strictly comply with the GAP Waiver’s notice provisions would result in a
22   disproportionate forfeiture as described in Paragraph 11(f) above.
23                                   SECOND CLAIM
            BREACH OF CONTRACT IN STATUTORY REFUND STATES
24     (On Behalf of Plaintiff Lori Mitchell, the Colorado Subclass and the Statutory
                                     Refund Subclass)
25

26        53.     Plaintiff Mitchell hereby repeat, reallege and incorporate by reference each
27   and every allegation contained above as though the same were fully set forth herein.
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 1           54.   Plaintiff Mitchell brings this claim on behalf of herself and the members of
 2   the Colorado Subclass and the Statutory Refund Subclass.
 3           55.   Plaintiff Mitchell and the members of the Colorado Subclass and the
 4   Statutory Refund Subclass entered into finance agreements with Toyota GAP Waiver
 5   addendums that were assigned to Toyota. These agreements were entered into in the
 6   States of Alabama, Colorado, Indiana, Iowa, Massachusetts, Nevada, New Jersey,
 7   Oregon, Texas, Vermont and Wisconsin.
 8           56.   A true and correct copy of Plaintiff Mitchell’s finance agreement and GAP
 9   Waiver addendum is attached as Exhibit B.
10           57.   The Toyota GAP Waiver addendums provide that Toyota will issue a credit
11   or refund of unearned GAP fees if the GAP Waiver is cancelled before the end of the
12   original contract term.
13           58.   Plaintiffs and the members of the Colorado Subclass and Statutory Refund
14   Subclass paid off the finance agreements early (i.e., before the end of the original contract
15   term), which resulted in the automatic cancellation of the GAP Waiver addendums.
16           59.   At the time of the early payoff, Toyota included the unearned GAP fees in
17   the total payoff amount quoted to Plaintiff Mitchell and the members of the Colorado
18   Subclass and Statutory Refund Subclass.
19           60.   Plaintiff Mitchell and the members of the Colorado Subclass and Statutory
20   Refund Subclass paid the total payoff amount to Toyota, including the unearned GAP
21   fees.
22           61.   The following State statutes and regulations require Toyota, as the assignee
23   and creditor of the GAP Waiver addendums, to automatically issue a credit or refund of
24   unearned GAP fees upon the early payoff of the finance agreement: Alabama (Ala. Code
25   1975 § 8-37-6; Ala. Admin. Code r. 155-2-2-.13); Colorado (4 Colo. Code Regs. § 902-
26   1-8), Indiana (Ind. Code § 24-4.5-3-202; Ind. D.F.I., GAP Program Approval,
27   Standardized GAP Agreements., No. 14), Iowa (Ia. St. § 537.2510), Massachusetts (Ma.
28   St. 140D § 22, Mass Gen. Laws Ch. 255B § 16), Nevada (Nev. Rev. Stat. § 690D.200);

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 1   New Jersey (N.J. Stat. § 17:16BB-6(b)); Oregon (Or. Rev. Stat. § 50.646A), Texas (Tex.
 2   Admin. Cod § 83.812; Tex. Fin Code § 354.007), Vermont (8 V.S.A. § 10405(11)), and
 3   Wisconsin (WSA § 218.0148).
 4        62.     Plaintiff Mitchell and the members of the Colorado Subclass and Statutory
 5   Refund Subclass actually and/or substantially complied with all of their contractual
 6   obligations under the GAP Waiver addendums.
 7        63.     In breach of their legal and contractual obligations under the finance
 8   agreements and GAP Waiver addendums and the aforementioned State laws and
 9   regulations, Toyota wrongfully collected the unearned GAP fees upon the early payoff
10   of the finance agreements and failed to promptly issue a credit or refund of those amounts
11   to Plaintiff Mitchell and the members of the Colorado Subclass and Statutory Refund
12   Class
13        64.     Plaintiff Mitchell and the members of the Colorado Subclass and Statutory
14   Refund Subclass were harmed, suffered out-of-pocket loss, and did not receive the
15   benefit of their bargains because Toyota failed to refund the unearned GAP fees after the
16   early payoff of the finance agreements and failed to pay the interest that accrued on those
17   unpaid amounts.
18        65.     Toyota is liable to Plaintiffs and the members of the Colorado Subclass and
19   Statutory Refund Subclass for the damages they suffered as a direct result of Toyota’s
20   collection and failure to promptly issue a credit or refund of the unearned GAP fees, as
21   well as the interest that accrued on those unpaid amounts as required under the applicable
22   State laws and regulations.
                                        THIRD CLAIM
23                            MONEY HAD AND RECEIVED
                   (On Behalf of all Plaintiffs and the Class and Subclasses)
24

25        66.     Plaintiffs hereby repeat, reallege and incorporate by reference each and
26   every allegation contained above as though the same were fully set forth herein.
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                                      CLASS ACTION COMPLAINT
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 1        67.     A claim for “money had and received” may be asserted any time a defendant
 2   holds money in its possession which in equity and good conscience belongs to the
 3   plaintiff.
 4        68.     Toyota acknowledges and refers to the remaining portion of GAP fees after
 5   an early payoff of the finance agreement as “unearned fees” or “unearned GAP fees.”
 6        69.     After the early termination of the finance agreement, Plaintiffs and the
 7   members of the Class and Subclasses did not receive any consideration for the unearned
 8   GAP fees collected by Toyota.
 9        70.     Toyota included the unearned GAP fees in the total payoff amount quoted
10   to Plaintiffs and the members of the Class and Subclasses and collected those fees from
11   Plaintiffs and the members of the Class and Subclasses.
12        71.     Toyota maintains possession of the unearned GAP fees belonging to
13   Plaintiffs and the members of the Class and Subclasses. This money in equity and good
14   conscience rightfully belongs to Plaintiffs and the members of the Class and Subclasses.
15        72.     Plaintiffs and the members of the Class and Subclasses seek restitution of
16   the unearned GAP fees collected and retained by Toyota, as well as the interest that
17   accrued on those unpaid amounts.
18                                    FOURTH CLAIM
              VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
19            (On Behalf of Plaintiff William Martin and the California Subclass)
20        73.     Plaintiff Martin hereby repeats, realleges and incorporates by reference each
21   and every allegation contained above as though the same were fully set forth herein.
22        74.     Plaintiff Martin brings this claim for violation of California Business and
23   Professions Code section 17200 et seq. (the “UCL”) on behalf of himself and the
24   members of the California Unfair Business Practices Subclass.
25        75.     The UCL prohibits acts of “unfair competition” including any unfair,
26   fraudulent or unlawful business practices.
27        76.     Toyota violated the UCL and CLRA by wrongly including the unearned
28   GAP fees in the total payoff amount, and Plaintiff Martin, in reliance on that
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 1   representation, paid the unearned GAP fees to Toyota. Toyota then wrongfully refused
 2   to acknowledge its refund obligation and its liability under the UCL, CLRA and the
 3   FTC’s “holder rule” for such amounts. It further actively concealed its refund obligation
 4   by sending a uniform payoff letter misleadingly stating the customer “may” be entitled
 5   to a refund of a portion of their GAP fees and they should contact the dealer or the product
 6   provider/administrator to cancel the product.       This payoff letter is deceptive and
 7   misleading because it fails to disclose that: (i) Toyota knows for a fact that the customer
 8   is entitled to a refund of the unearned GAP fees upon an early payoff; (ii) Toyota knows
 9   the exact amount of the refund; (iii) Toyota knows that Toyota is the entity that is
10   contractually and legally obligated to issue the credit or refund of the unearned GAP fees
11   to the customer, not the dealer; and (iv) Toyota is the provider/administrator of the GAP
12   product. These practices are likely to and actually did mislead Plaintiff Martin and other
13   reasonable consumers into paying unearned GAP fees to Toyota and failing to seek a
14   refund of such fees from Toyota.
15        77.     Toyota’s practice of collecting and failing to refund unearned GAP fees after
16   the early payoff of the finance agreement is an “unfair” business practice proscribed by
17   the UCL. There is no reasonable basis for Toyota to collect and fail to refund fees that
18   Toyota knows are not earned and will never be earned. Further, there is no legitimate
19   basis to require customers to send a subsequent written notice to Toyota or its agents that
20   the finance agreement has been paid off early as a condition precedent for the refund,
21   when the party with the refund obligation (Toyota) already knows the finance agreement
22   has been paid off early. This practice is substantially injurious to consumers and has
23   allowed Toyota to be unjustly enriched at the consumers’ expense. This substantial
24   injury is not outweighed by any countervailing benefits to customers or competition.
25        78.     Toyota’s inclusion of unearned GAP fees in the total payoff amount quoted
26   is a “fraudulent” business practice under the UCL in that it is likely to deceive a
27   reasonable consumer, and did in fact deceive Plaintiff Martin and the members of the
28   California Subclass, into paying money to Toyota that Toyota did not earn and could

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 1   never be earned. Toyota’s refusal to acknowledge its obligation to refund the unearned
 2   GAP fees in its payoff letters, and its liability under the “holder rule” for such amounts,
 3   is a “fraudulent” business practice under the UCL in that it is tantamount to an incorrect
 4   and misleading assertion that no claims for refunds may be brought against Toyota.
 5   Likewise, Toyota’s practice of misdirecting customers to contact the dealer about a
 6   possible refund, when Toyota knows customers are, in fact, entitled to a refund of the
 7   unearned GAP fees from Toyota when the finance agreement is paid off early, is a
 8   “fraudulent” business practice under the UCL, because it is likely to deceive and deter a
 9   reasonable consumer from seeking such refunds from Toyota.
10        79.     Toyota’s practices described above are unlawful and, at a minimum, violate
11   California’s Consumer Legal Remedies Act (the “CLRA”) which prohibits Toyota from
12   representing that a transaction confers or involves rights, remedies and obligations that it
13   does not have and prohibits the inclusion of unconscionable terms in a consumer contract.
14        80.     As a direct and proximate result of Toyota’s violations of the UCL, Plaintiff
15   Martin and each of the members of the California Subclass have been injured in fact and
16   suffered lost money or property in that Toyota collected and failed to refund their
17   unearned GAP fees after the early payoff of their finance agreements.
18        81.     Pursuant to section 17203 of the UCL, Plaintiff Martin and the members of
19   California Subclass, are seeking restitution of all unearned GAP fees that Toyota failed
20   to refund after the early payoff of their finance agreements, with accrued interest on the
21   unpaid amounts.
22        82.     Plaintiff Martin and the members of the California Subclass are further
23   seeking an order enjoining Toyota from collecting and failing to promptly refund
24   unearned GAP fees after the early payoff of the finance agreement. Without such an
25   order, there is a continuing threat to Plaintiff Martin and the members of the California
26   Subclass, as well as to members of the general public, that Toyota will continue to
27   improperly collect and keep possession of unearned GAP fees and fail to issue a credit
28   or refund such fees to California consumers.

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 1                                   FIFTH CLAIM
        VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
 2         (On Behalf of Plaintiff William Martin and the California Subclass)
 3        83.     Plaintiff Martin hereby repeats, realleges and incorporates by reference each
 4   and every allegation contained above as though the same were fully set forth herein.
 5        84.     Plaintiff Martin brings this claim for violations of California’s Consumer
 6   Legal Remedies Act, California Civil Code section 1750 et seq. (the “CLRA”). This
 7   claim is brought on behalf of himself and the members of the California Subclass.
 8        85.     The finance agreements and GAP Waiver addendums are consumer service
 9   contracts covered by the CLRA.
10        86.     California Civil Code section 1770(a), subdivision (14), prohibits a seller of
11   consumer goods or services from representing that a transaction confers or involves
12   rights, remedies or obligations that it does not have.
13        87.     California Civil Code section 1770(a), subdivision (19), prohibits a seller of
14   consumer goods or services from inserting an unconscionable provision in a contract.
15        88.     The GAP Waiver addendums are adhesion contracts.
16        89.     Toyota violated California Civil Code section 1770(a), subdivision (14),
17   because it represented to its customers that they owed unearned GAP fees in the total
18   payoff amount, even though Toyota knew those fees were not earned and could never be
19   earned as a result of the early payoff.
20        90.     Toyota violated California Civil Code section 1770(a), subdivision (19) by
21   including unconscionable provisions in its GAP Wavier forms. Any provision in the
22   GAP Waiver forms that purports to require customers to send a subsequent written notice
23   to Toyota, the dealer or any other party that the finance agreement has been paid off early
24   as a condition precedent to a credit or refund of unearned GAP fees is unfair,
25   unconscionable and unenforceable, because the party with the refund obligation (Toyota)
26   already knows the finance agreement has been paid off early. Consequently, any
27   provision that would result in a customer forfeiting the refund of unearned GAP fees in
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 1   these circumstances would be overly harsh, would unreasonably favor Toyota and is
 2   unconscionable as a matter of fact and law.
 3       91.      In light of this violation of the CLRA, Plaintiff Martin, on behalf of himself
 4   and the members of the California Subclass, hereby seek an order enjoining Toyota from
 5   including unearned GAP fees in the total payoff amount quoted to customers and
 6   collecting and failing to promptly refund unearned GAP fees after the early payoff of the
 7   finance agreement. Without such an order, there is a continuing threat to Plaintiff Martin
 8   and the members of the California Subclass, as well as to members of the general public,
 9   that Toyota will continue to improperly include unearned GAP fees in the total payoff
10   amount quoted to its customers and continue to improperly collect and keep possession
11   of unearned GAP fees, rather than issue a credit or refund of such fees to California
12   consumers.
13       92.      Plaintiff Martin has sent a CLRA Demand Letter via certified registered
14   mail to Toyota demanding, inter alia, that (a) Toyota no longer include unearned GAP
15   fees in the total payoff amount quoted to customers; (b) Toyota promptly issue a credit
16   or refund of the unearned GAP fees upon the early payoff of the finance agreement; (c)
17   Toyota issue a refund of the unearned GAP fees with accrued interest to all customers in
18   California who paid off their finance agreements early and did not receive a credit or
19   refund of the unearned GAP fees; and (d) Toyota no longer purport to require additional
20   written notice of the cancellation of the GAP Waiver addendum after an early payoff as
21   a purported condition precedent to a credit or refund of unearned GAP fees. If Toyota
22   fails to implement the requested corrective measures within thirty days of receipt of the
23   CLRA Demand Letter, or within a reasonable time thereafter, Plaintiff Martin will amend
24   this claim to seek damages and punitive damages under the CLRA.
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                                        SIXTH CLAIM
 1                               DECLARATORY RELIEF
                   (On Behalf of all Plaintiffs and the Class and Subclasses)
 2

 3        93.    Plaintiffs hereby repeat, reallege and incorporate by reference each and
 4   every allegation contained above as though the same were fully set forth herein.
 5        94.    There exists a present controversy between the parties as to the following
 6   issues:
 7               a.     Whether Toyota, as the assignee, owes a contractual obligation to the
 8   customer under the GAP Waiver to refund unearned GAP fees when the finance
 9   agreement has been paid off early.
10               b.     Whether Toyota is required to pay interest on any unearned GAP fees
11   that it collects when the finance agreement has been paid off early and which it
12   subsequently fails to promptly refund.
13               c.     Whether Toyota is legally required to refund the unearned GAP fees
14   it collects from customers who pay off their finance agreements early under the following
15   State statutes and regulations: Alabama (Ala. Code 1975 § 8-37-6; Ala. Admin. Code r.
16   155-2-2-.13); Colorado (4 Colo. Code Regs. § 902-1-8), Indiana (Ind. Code § 24-4.5-3-
17   202; Ind. D.F.I., GAP Program Approval, Standardized GAP Agreements, No. 14), Iowa
18   (Ia. St. § 537.2510), Massachusetts (Ma. St. 140D § 22, Mass Gen. Laws Ch. 255B § 16),
19   Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J. Stat. § 17:16BB-6(b)); Oregon
20   (Or. Rev. Stat. § 50.646A), Texas (Tex. Admin. Cod § 83.812; Tex. Fin Code § 354.007),
21   Vermont (8 V.S.A. § 10405(11)), and Wisconsin (WSA § 218.0148).
22               d.     Whether Toyota is legally required to pay interest on the unpaid
23   refund amounts under the following State statutes and regulations: Alabama (Ala. Code
24   1975 § 8-37-6; Ala. Admin. Code r. 155-2-2-.13); Colorado (4 Colo. Code Regs. § 902-
25   1-8), Indiana (Ind. Code § 24-4.5-3-202; Ind. D.F.I., GAP Program Approval,
26   Standardized GAP Agreements, No. 14), Iowa (Ia. St. § 537.2510), Massachusetts (Ma.
27   St. 140D § 22, Mass Gen. Laws Ch. 255B § 16), Nevada (Nev. Rev. Stat. § 690D.200);
28   New Jersey (N.J. Stat. § 17:16BB-6(b)); Oregon (Or. Rev. Stat. § 50.646A), Texas (Tex.

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 1   Admin. Cod § 83.812; Tex. Fin Code § 354.007), Vermont (8 V.S.A. § 10405(11)), and
 2   Wisconsin (WSA § 218.0148).
 3        95.     Plaintiffs and the members of the Class and Subclasses contend Toyota
 4   owes these obligations.
 5        96.     Accordingly, Plaintiffs and the members of the Class and Subclasses hereby
 6   request the Court issue an order declaring that:
 7                a.    Toyota, as the assignee, owes a contractual obligation to the customer
 8   under the GAP Waiver to refund unearned GAP fees when the finance agreement has
 9   been paid off early.
10                b.    Toyota is required to pay interest on any unearned GAP fees that it
11   collects when the finance agreement has been paid off early and which it subsequently
12   fails to promptly refund.
13                c.    Toyota is legally required to refund the unearned GAP fees it collects
14   from customers who pay off their finance agreements early under the following state
15   statutes and regulations: Alabama (Ala. Code 1975 § 8-37-6; Ala. Admin. Code r. 155-
16   2-2-.13); Colorado (4 Colo. Code Regs. § 902-1-8), Indiana (Ind. Code § 24-4.5-3-202;
17   Ind. D.F.I., GAP Program Approval, Standardized GAP Agreements, No. 14), Iowa (Ia.
18   St. § 537.2510), Massachusetts (Ma. St. 140D § 22, Mass Gen. Laws Ch. 255B § 16),
19   Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J. Stat. § 17:16BB-6(b)); Oregon
20   (Or. Rev. Stat. § 50.646A), Texas (Tex. Admin. Cod § 83.812; Tex. Fin Code § 354.007),
21   Vermont (8 V.S.A. § 10405(11)), and Wisconsin (WSA § 218.0148).
22                d.    Toyota is legally required to pay interest on the unpaid refund
23   amounts under the following state statutes and regulations: Alabama (Ala. Code 1975 §
24   8-37-6; Ala. Admin. Code r. 155-2-2-.13); Colorado (4 Colo. Code Regs. § 902-1-8),
25   Indiana (Ind. Code § 24-4.5-3-202; Ind. D.F.I., GAP Program Approval, Standardized
26   GAP Agreements, No. 14), Iowa (Ia. St. § 537.2510), Massachusetts (Ma. St. 140D § 22,
27   Mass Gen. Laws Ch. 255B § 16), Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J.
28   Stat. § 17:16BB-6(b)); Oregon (Or. Rev. Stat. § 50.646A), Texas (Tex. Admin. Cod §

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 1   83.812; Tex. Fin Code § 354.007), Vermont (8 V.S.A. § 10405(11)), and Wisconsin
 2   (WSA § 218.0148).
 3                                  PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiffs request that this Court enter a judgment against Toyota
 5   in favor of Plaintiffs and the members of the Class and Subclasses and award the
 6   following relief:
 7         1. An order certifying this lawsuit as a class action pursuant to Rule 23 of the
 8             Federal Rules of Civil Procedure, appointing Plaintiffs as the representatives of
 9             the Class and their respective Subclasses, and appointing Plaintiffs’ counsel as
10             Class Counsel for the Class and Subclasses;
11         2. An order declaring the following:
12                a. Toyota, as the assignee, owes a contractual obligation to the customer
13                   under the GAP Waiver to refund unearned GAP fees when the finance
14                   agreement has been paid off early.
15                b. Toyota is required to pay interest on any unearned GAP fees that it
16                   collects when the finance agreement has been paid off early and which it
17                   subsequently fails to promptly refund.
18                c. Toyota is legally required to refund the unearned GAP fees it collects
19                   from customers who pay off their finance agreements early under the
20                   following state statutes and regulations: Alabama (Ala. Code 1975 § 8-
21                   37-6; Ala. Admin. Code r. 155-2-2-.13); Colorado (4 Colo. Code Regs.
22                   § 902-1-8), Indiana (Ind. Code § 24-4.5-3-202; Ind. D.F.I., GAP Program
23                   Approval, Standardized GAP Agreements, No. 14), Iowa (Ia. St. §
24                   537.2510), Massachusetts (Ma. St. 140D § 22, Mass Gen. Laws Ch.
25                   255B § 16), Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J. Stat.
26                   § 17:16BB-6(b)); Oregon (Or. Rev. Stat. § 50.646A), Texas (Tex.
27                   Admin. Cod § 83.812; Tex. Fin Code § 354.007), Vermont (8 V.S.A. §
28                   10405(11)), and Wisconsin (WSA § 218.0148).

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 1              d. Toyota is legally required to pay interest on the unpaid refund amounts
 2                 under the following state statutes and regulations: Alabama (Ala. Code
 3                 1975 § 8-37-6; Ala. Admin. Code r. 155-2-2-.13); Colorado (4 Colo.
 4                 Code Regs. § 902-1-8), Indiana (Ind. Code § 24-4.5-3-202; Ind. D.F.I.,
 5                 GAP Program Approval, Standardized GAP Agreements, No. 14), Iowa
 6                 (Ia. St. § 537.2510), Massachusetts (Ma. St. 140D § 22, Mass Gen. Laws
 7                 Ch. 255B § 16), Nevada (Nev. Rev. Stat. § 690D.200); New Jersey (N.J.
 8                 Stat. § 17:16BB-6(b)); Oregon (Or. Rev. Stat. § 50.646A), Texas (Tex.
 9                 Admin. Cod § 83.812; Tex. Fin Code § 354.007), Vermont (8 V.S.A. §
10                 10405(11)), and Wisconsin (WSA § 218.0148).
11        3. An award to Plaintiffs and the members of the Class and Subclasses of all
12           appropriate relief, including actual damages, restitution and disgorgement of
13           the unearned GAP fees;
14        4. An award of all costs for prosecuting the litigation, including expert fees;
15        5. An award of pre- and post-judgment interest;
16        6. An award of attorneys’ fees; and
17        7. An order granting any such additional relief as this Court may deem just and
18           proper.
19

20   Dated: November 17, 2020              FRANK SIMS & STOLPER LLP
21                                             /s/ Jason M. Frank
                                           JASON M. FRANK, ESQ.
22                                         ANDREW STOLPER, ESQ
                                           SCOTT H. SIMS, ESQ.
23
                                           Attorneys for Plaintiffs
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 1                                DEMAND FOR JURY TRIAL
 2         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand a trial
 3   by jury as to all claims in this action.
 4

 5   Dated: November 17, 2020                   FRANK SIMS & STOLPER LLP
 6                                                  /s/ Jason M. Frank
                                                JASON M. FRANK, ESQ.
 7                                              ANDREW STOLPER, ESQ
                                                SCOTT H. SIMS, ESQ.
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                                                Attorneys for Plaintiffs
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